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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 CHRISTY BECKERICH, et al.,                          :            Case No. 1:21-CV-00576
                                                     :
           Plaintiffs,                               :            Judge Timothy S. Black
                                                     :
 v.                                                  :
                                                     :         NOTICE OF APPEARANCE
 ST. ELIZABETH MEDICAL CENTER,                       :          OF RUSSELL S. SAYRE
 INC., et al.,                                       :
                                                     :
           Defendants.                               :


        Notice is hereby given that Russell S. Sayre of Taft Stettinius & Hollister LLP hereby enters

his appearance as counsel on behalf of Defendant Cincinnati Children’s Hospital Medical Center.



                                                         Respectfully submitted,

                                                         /s/ Russell S. Sayre
                                                         Russell S. Sayre (0047125)
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                                                         Counsel for Defendant Cincinnati
                                                         Children’s Hospital Medical Center
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was filed

electronically on September 7, 2021. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                                     /s/ Russell S. Sayre
